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                          UNITED STATES DISTRICT COURT
                                DISTRICT OF IDAHO

UNITED STATES OF AMERICA,
                                                Case No. CR-13-120-S-EJL
                                   Plaintiff,
                                                AMENDED MOTION TO SUPPRESS
vs.                                             FISA ACQUIRED EVIDENCE AND
                                                DISCLOSE SAME TO DEFENDANT
FAZLIDDIN KURBANOV,                             AND MEMORANDUM IN SUPPORT


                                 Defendant.



       FAZLIDDIN KURBANOV, through counsel undersigned, and pursuant to 50

U.S.C. §§ 1806(e) and 1825(f), respectfully moves this court to suppress any evidence

obtained or derived from electronic surveillance or physical searches conducted pursuant

to the Foreign Intelligence Surveillance Act (FISA) (50 U.S.C. §§ 1801-1811, 1821-

1829), intended to be offered into evidence, or otherwise used, or disclosed by the

government. As grounds he states as follows:

       On May 21, 2013, the government filed a “Notice of Intent to Use Foreign

Intelligence Surveillance Information,” stating its intent to “offer into evidence or

otherwise use or disclose in any proceedings … information obtained and derived from

electronic surveillance and physical searches conducted pursuant to” FISA.          The




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government’s notice was provided pursuant to 50 U.S.C. §§ 1806(c) and 1825(d), which

refer to the notification requirements for the use of FISA acquired information from

electronic surveillance and physical searches, respectively. Doc. 14.

                  50 U.S.C. §§ 1806(e) and 1825(f) provide that “[a]ny person against whom

evidence obtained or derived from” FISA acquired electronic surveillance or physical

search “to which he is an aggrieved person1 is to be, or has been, introduced or otherwise

used or disclosed in any trial, hearing, or other proceeding in or before any court . . . may

move to suppress the evidence obtained or derived from such search on the grounds that

the information was unlawfully acquired; or the physical search was not made in

conformity with an order of authorization or approval.”2

                  In this case, any evidence obtained or derived from FISA surveillance or searches

should be suppressed because the FISA applications may fail to establish probable cause


	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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           An “[a]ggrieved person” is “a person who is the target of an electronic surveillance or
any other person whose communications or activities were subject to electronic
surveillance.” 50 U.S.C. § 1801(k)
2
     50 U.S.C. §§ 1806(f) and 1825(g) provide that whenever a court is notified of the
government’s intent to enter into evidence, or otherwise use, information obtained
through electronic surveillance or physical searches made pursuant to FISA, or whenever
any motion to suppress such evidence is made pursuant to 50 U.S.C. §§ 1806(e), or
1825(f), the “United States district court . . . shall, notwithstanding any other provision of
law, if the Attorney General files an affidavit under oath that disclosure or any adversary
hearing would harm the national security of the United States, review in camera and ex
parte the application, order, and such other materials relating to the physical search as
may be necessary to determine whether the physical search of the aggrieved person was
lawfully authorized and conducted.” 50 U.S.C. §§ 1806(f) and 1825(g) further provide
that “[i]n making this determination, the court may disclose to the aggrieved person,
under appropriate security procedures and protective orders, portions of the application,
order, or other materials relating to the physical search, or may require the Attorney
General to provide to the aggrieved person a summary of such materials, only where such
disclosure is necessary to make an accurate determination of the legality of the	  physical	  
search.”
	  


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that Mr. Kurbanov is an “agent of a foreign power;” the applications may contain

intentional or reckless material falsehoods or omissions; minimization procedures may be

inadequate and/or the government may have failed to comply with minimization

procedures; the government may not have made the required certifications in FISA

applications, or those certifications may have been erroneous; and any extensions of

FISA applications based on searches performed are fruit of the poisonous tree and should

be suppressed.

I.     INTRODUCTION

       This case involves numerous intrusive searches of Mr. Kurbanov's private

residence and the residence he occupied with other family members; his computers, email

accounts, and personal effects. According to various reports produced in discovery, the

FBI began investigating Mr. Kurbanov after he was observed in contact with another

man, who is the subject of a similar case in another city. Among the reasons articulated

by FBI for its interest, Mr. Kurbanov had reportedly viewed various videos on the

Internet, and made purchases of items that the government contends may be used to

make bombs.

       Mr. Kurbanov was the subject of “court-authorized electronic surveillance” long

before the issuance of any search warrant in this case. The government made physical

searches of his apartment, seized “samples” from within, and created “mirrored hard

drives” of the content of various computer hard drives. These actions and others took

place before the issuance of any disclosed search warrant, the application for which

occurred on or about May 15, 2013. The FISA searches resulted in the seizure of

potential evidence from the residences occupied by Mr. Kurbanov and other family


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members, from electronic records, and perhaps automobiles that were also searched,

seized temporarily and searched again.

       The searches at issue violate the Fourth Amendment to the United States

Constitution, which protects "[t]he right of the people to be secure in their persons,

houses, papers, and effects, against unreasonable searches and seizures." U.S. CONST.

AM. IV. The searches appear to have been conducted pursuant to an authorization under

the FISA, which was designed for foreign intelligence gathering but is increasingly used

by law enforcement to circumvent the protections of the Fourth Amendment and other

vital Constitutional protections.

       Any evidence from any FISA searches or derived from the same should be

suppressed. To the extent that subsequent warrants were obtained from the court in this

case, and based in whole or in part on information derived from the FISA searches and

seizures, any evidence resulting from the use of a court issued search warrant should also

be suppressed.

       Defendant asserts, as far as can be determined without access to the FISA

materials, that the protocol for obtaining a FISA order was not followed in this case and,

consequently, that the fruits of the FISA search should be suppressed. Second, there are

numerous reasons why the defense should be given access to the FISA materials in this

case to protect the rights of the accused. Finally, this memorandum explains why this

Court should rule that FISA is unconstitutional on its face and as applied in this case.




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II.     FISA OVERVIEW

FISA, enacted in 1978, established the Foreign Intelligence Surveillance Court (FISC), a

unique type of secret court in which the government is the only entity permitted to

appear. FISA authorizes issuance of two types of warrants – those allowing electronic

surveillance and those allowing physical searches. Both types of warrants are at issue in

this case, as the discovery establishes that electronic and physical searches occurred

pursuant to "legally authorized surveillance" but prior to the issuance of a search warrant.

        The statutory prerequisites of FISA are the same in most respects for both

electronic and physical intrusions. Any application to the FISC must be made under oath

by a federal officer and contain certain information and certifications. 50 U.S.C. §§ 1804

and 1823. The statute also requires a summary statement of the means by which the

surveillance will be effected and a statement whether physical entry is required to effect

the surveillance. Id. § 1804(a)(7) - (9). The Attorney General must personally review the

application and determine that it satisfies the criteria and requirements set forth in the

statute. Id. at § 1804(d).

        A.     Requirements to Obtain a FISA Order and Standard for
               Suppression of FISA Evidence.

        Before the FISA court can approve electronic surveillance or a physical search, it

must make several important findings. One of the more important aspects of a FISA

order is that the government must show facts that "the target of the electronic

surveillance is a foreign power or an agent of a foreign power" and that each of the

facilities or places at which the electronic surveillance or physical search is directed is



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being used, or is about to be used, by the foreign power or an agent thereof. 50 U.S.C. §§

1804(a)(3); 1824(a)(2).

       FISA requires a "certification or certifications by the Assistant to the President for

National Security Affairs, an executive branch official or officials designated by the

President from among those executive officers employed in the area of national security

or defense and appointed by the President with the advice and consent of the Senate, or

the Deputy Director of the Federal Bureau of Investigation, if designated by the President

as a certifying official," that a significant purpose of the surveillance or search is to

obtain foreign intelligence information." 50 U.S.C. §§ 1804(a)(6)(B), 1823(a)(6)(B).

       FISA authorizes any "aggrieved person" to move to suppress evidence obtained or

derived from electronic surveillance or a physical search on the grounds that the

information was unlawfully acquired, or the surveillance or search was not made in

conformity with an order of authorization or approval. Id. at §§ 1806(e), 1825(f). FISA

defines the phrase "aggrieved person" as "a person who is the target of an electronic

surveillance or any other person whose communications or activities were subject to

electronic surveillance." Id. at § 1801(k). Fazliddin Kurbanov is an aggrieved person.

       B.      This Court's Standard of Review of the FISA Application
               and Procedure is De Novo.

       This Court should review the FISA applications and orders de novo. United

States v. Hammound, 381 F.3d 316, 332 (4th Cir. 2004) (noting district court's de novo

review and conducting its own de novo review of FISA materials), vacated on other

grounds, 543 U.S. 1097 (2005); United States v. Squillacote, 221 F.3d 542, 554 (4th

Cir. 2000) (same). A reviewing court should conduct essentially the same review of the



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FISA application and materials that the FISC conducted. In re Grand Jury Proceedings

of the Special April 2002 Grand Jury, 347 F.3d 197, 204-05 (7th Cir. 2003). “No

deference [should be] accorded to the FISC's probable cause determinations." United

States v. Rosen, 447 F.Supp. 2d 538, 545 (E.D. Va. 2006). Absent defense

participation "de novo review is particularly important "especially given that the review

is ex parte and thus unaided by the adversarial process." See also United States v.

Warsame, 547 F.Supp. 2d 982, 990 (D. Minn. 2008).

        The Court must give an exacting review of the FISA materials because at this

stage, the FISA activity has moved out of the realm of “intelligence gathering” and is

being used to obtain a criminal conviction. The focus now should be the rights of the

defendant against whom the government is acting, and not the interests of intelligence.

III.    ACCESS TO FISA DISCOVERY IS REQUIRED.
        The district court has the discretion to disclose portions of relevant materials,

under appropriate protective procedures, if it decides that such disclosure is necessary to

make an accurate determination of the legality of the surveillance, or is otherwise

required by due process. 50 U.S.C. §§ 1806(f) (electronic surveillance), 1825(g) (physical

searches); United States v. Stewart, 590 F.3d 93, 128 (2d Cir. 2009). Both principles

require that the defense have access to the FISA materials in this case.

        Accordingly, Defendant moves the Court to give him access to the relevant

materials under the appropriate protective procedures and to permit his lawyers to

participate in the process on his behalf.




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       A.      Disclosure of FISA Materials is Necessary to Accurately
               Determine the Legality of the FISA Surveillance and
               Searches.

       To assist in determining legality, "the court may disclose to the aggrieved person,

under appropriate security procedures and protective orders, portions of the application,

order, or other materials relating to the surveillance only where such disclosure is

necessary to make an accurate determination of the legality of the surveillance." 50

U.S.C. §§1806(f) (electronic surveillance), § 1825(g) (physical searches). While defense

counsel have not been permitted to participate in suppression hearings, some courts have

articulated principles supporting such participation. For example, in both United States v.

Belfield, 692 F.2d 141, 147 (D.C. Cir. 1982), and United States v. Ott, 827 F.2d 473, 476

(9th Cir. 1987), the courts identified issues including misrepresentations of fact, vague

identifications, or records showing overbroad surveillance that may require disclosure to

the defense.

       Pursuant to 50 U.S.C. § 1806(f), this court should order the government to

provide defense counsel the following materials: All applications, extensions, orders, and

related materials underlying the electronic surveillance of the defendant conducted

pursuant to FISA, as well as applications for such surveillance of any third-party target

which intercepted defendant.

       B.      Defense Access to Such Information and Participation
               is Necessary to Insure Due Process is Afforded.

       As enacted in 1978, FISA applied to interceptions the "primary purpose" of which

was foreign intelligence. However, as amended in 2001 by the USA PATRIOT Act, the

statute now applies to interceptions that have international intelligence gathering as a




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"significant purpose." See United States v. Ning Wen, 477 F.3d 896, 897 (7th

Cir.2007); 50 U.S.C. § 1804(a)(6)(B).

       The Foreign Intelligence Surveillance Court of Review ("FISCR") has concluded

that the amended statute allows domestic use of intercepted evidence provided that a

"significant" international objective is present at the time of the FISA order. Ning Wen,

477 F.3d at 897 (citing Sealed Case, 310 F.3d 717 (F.I.S.Ct.Rev.2002)). The FISCR

has further stated that the "significant purpose" test, "impose[s] a requirement that the

government have a measurable foreign intelligence purpose, other than just criminal

prosecution of even foreign intelligence crimes" in seeking to obtain a FISA order.

Sealed Case, 310 F.3d 717, 735 (F.I.S.Ct.Rev.2002).

       Defense access to the information and defense input is necessary for an accurate

determination of these issues – whether the government proved Mr. Kurbanov was a

“foreign power or agent of a foreign power,” and whether a "significant purpose" of the

FISA application was in fact, foreign intelligence gathering. With respect to both physical

searches and electronic surveillance, FISA requires that a court find probable cause to

believe that the target of the investigation is a foreign power or agent of a foreign power,

and that the location the surveillance or search is directed is being used or is about to be

used by the target. 50 U.S.C. §§ 1805(a)(2)(A)-(B), 1824(a)(2)(A)-(B). The FISA

application here may be insufficient to establish either.

       Section 1801(a)-(b) provides several definitions and categories of "foreign

power" and "agent of a foreign power." The only category that arguably applies is the

"agent of a foreign power" definition provided in § 1801(b)(1)(C). That definition

includes a person who "engages in international terrorism or activities in preparation



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therefore." Mr. Kurbanov should have a meaningful opportunity to be heard on this

matter. Absent access to the information relied upon, and a role in the determination, he

is denied due process of law because he must guess as to how the determination was

made and he has no voice in the process.

        This Court should not be persuaded by any argument that this was strictly a

"terrorism" investigation and thus had a significant foreign intelligence objective. The

mere fact that an investigation is in relation to "terrorism" does not establish a

"significant" foreign connection under FISA.

        In the search warrant context, courts are instructed to rely on common sense

when making probable cause determinations.          Illinois v. Gates, 462 U.S. 213, 239

(1983). Common sense should also apply here. The government’s reliance on FISA

supplies a tool to circumvent the United States Constitution and procedures that

otherwise protect the public from overreaching. The government improperly used those

tools to build a criminal case, unrelated to foreign intelligence gathering. Accordingly, the

fruit of the FISA searches and surveillance should be suppressed. The process afforded

the Defendant who must “articulate” his arguments in the absence of the information

relied upon by the FISC denies him due process, but the Court may solve this problem by

allowing access to the information to his lawyers (both of whom have security

clearances) and the opportunity to be involved in an adversary proceeding. "Adversary

proceedings do in fact take more time, and they are more cumbersome, but with good

reason: The adversary process helps us get at the truth.” United States v. Thompson,

827 F.2d 1254, 1259 (9th Cir. 1987).

	  



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       C.    Defense Involvement Is Necessary to Address Why the
             Information Could Not Be Obtained By Normal
             Investigative Procedures.

       An important check on governmental abuse of FISA is that it may only be

used when the Attorney General certifies, "that such information cannot

reasonably be obtained by normal investigative procedures."                 50 U.S.C. §§

1804(a)(6)(C); 1823(a)(6)(C). A defense perspective is necessary to determine

why normal investigative procedures could not be used in this case and to refute

the government's explanation for why it relied on FISA.

       D.    Defense Involvement is Necessary to Address Questions
             Related to Minimization of Government Intrusion.

       Under FISA, as under the Title III wiretap statute, the government is required to

demonstrate it has minimized its intrusions. See 50 U.S.C. §§ 1801(h); 1802(a)(1)(C);

1804(a)(4); 1805(a)(3); 1806(a); 1821(4); 1822(a)(1)(A)(iii); 1823(a)(4);1824(a)(3), and

(c)(2)(A); 1825(a); 1861(g); 1881a(e) and (g)(2)(A)(ii) and (i)(2)(C); 1881b(b)(D) and

(c)(1)(C) and (c)(3)(C) and (d)(2); 1881c(b)(4) and (c)(1)(C) and (c)(3)(C) and (d)(2).

       [The] minimization procedures are designed to protect, as far as
       reasonable, against the acquisition, retention, and dissemination of
       nonpublic information which is not foreign intelligence information. If the
       data is not foreign intelligence information as defined by the statute, the
       procedures are to ensure that the government does not use the information
       to identify the target or third party, unless such identification is necessary
       to properly understand or assess the foreign intelligence information that
       is collected.

In re Sealed Case, 310 F.3d at 731 (citing § 1801(h)(2)).

       The statute requires three specific types of minimization to protect distinct

interests. 50 U.S.C. § 1801. First, by minimizing acquisition, Congress envisioned that



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surveillance should be discontinued where the target is not a party to the

communications. Second, by minimizing retention, Congress intended that information

acquired, which is not necessary for obtaining, producing, or disseminating foreign

intelligence information, be destroyed where feasible. Third, by minimizing

dissemination, Congress intended that even lawfully retained information should only be

divulged to those officials with a specific need. In re Sealed Case, 310 F.3d at 731.

"The FISA minimization procedures were enacted 'generally to parallel the minimization

provision in existing [electronic surveillance] law.'" United States v. Thomson, 752 F.

Supp. 75,80 (W.D.N.Y. 1990) (quoting S. Rep. No. 95-701, at 39(1978), reprinted in

1990 U.S.C.C.A.N. 4008).

        Defense input is necessary because there was surveillance of such a "significant

amount of non-foreign intelligence information" that it is apparent that the minimization

procedures were not followed. United States v. Belfield, 692 F.2d 141 (D.C. Cir. 1982).

        E.     Due Process Requires Disclosure of FISA Material

        FISA requires disclosure "to the extent that due process requires discovery or

disclosure."    18 U.S.C. §§ 1806(g), 1825(h), 1845(g)(2).            In the contest between

disclosure of state secrets and the defendant's right to a fair trial, the latter wins.

        As the Supreme Court has long recognized, "the Government can invoke its

evidentiary privileges only at the price of letting the defendant go free . . . it is

unconscionable to allow [the Government] to under take prosecution and then invoke its

governmental privileges to deprive the accused of anything which might be material to

his defense." United States v. Reynolds, 345 U.S. 1, 12 (1953). This principal has

remained unchanged over time. In a criminal prosecution the defense must have access


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to information that is "helpful or material,” regardless of whether such information is

secret. United States v. Aref, 533 F.3d 72, 80 (2d Cir. 2008).         Being "helpful or

material" does not necessarily rise to the level of the government's obligations under

Brady v. Maryland, 373 U.S. 83 (1963), because "information can be helpful without

being favorable in the Brady sense." Id. Thus, the government must disclose any and all

helpful information to the defense. Id.; see also United States v. Varca, 896 F.2d 900,

905 (5th Cir. 1990).

       It is axiomatic that due process requires an opportunity to be heard in a

meaningful way and at a meaningful time. Mr. Kurbanov is denied the opportunity to be

heard by a process that keeps his lawyers, who have security clearances, from reviewing

the FISA materials and participating on behalf of the Defendant in a hearing to determine

whether the law was followed in this case.

IV.    FISA IS UNCONSTITUTIONAL
       Although a number of the challenges raised here have been rejected by other

courts both before and after the Patriot Act Amendments to FISA in 2001, the Court

should consider the claims in light of the facts of this case, amendments to the Patriot

Act, and the lack of Supreme Court authority addressing FISA issues.

       A.    The "Significant Purpose" Standard Violates the Fourth
             Amendment's Prohibition on Unreasonable Searches and
             Seizures.

       Before FISA was enacted, and for the first 25 years of its existence, the "primary

purpose" for surveillance or searches was required to be intelligence gathering. United

States v. Truong Dinh Hung, 629 F.2d 908, 912-13 (4th Cir. 1980). The non-criminal

purpose standard was essential to the cases upholding FISA's constitutionality. In the



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Patriot Act of 2001 and a subsequent decision of the FISCR, the primary purpose test was

abandoned. The change requires reconsideration of FISA's constitutionality given the

use of FISA for normal criminal purposes for governmental intrusions, which implicate

the Fourth, Fifth, and Sixth Amendments.

              1.   The "primary purpose" standard was essential
                   to the Constitutionality of FISA.

       Prior to the amendments to FISA pursuant to the Patriot Act in 2001, information

obtained pursuant to a FISA investigation could be used in a criminal proceeding only if

the "primary purpose" of the FISA investigation was foreign intelligence gathering.

United States v. Duggan, 743 F.2d 59, 77 (2d Cir. 1984).

       Critically important, this "primary purpose" standard arose from pre-FISA case

law holding that warrantless surveillance by the executive branch was permissible only if

the purpose of the surveillance was primarily to gather foreign intelligence information.

See, e.g., United States v. Butenko, 494 F.2d 593, 601 (3d Cir.1974) (noting that the

surveillance was conducted "solely for the purpose of gathering foreign intelligence

information"); United States v. Truong Dinh Hung, 629 F.2d 908, 915 (4th Cir.1980)

(finding that the executive branch is excused from the warrant requirement only when

"the object of the search or the surveillance is a foreign power," and "the surveillance is

conducted 'primarily' for foreign intelligence reasons"); United States v. Brown, 484

F.2d 418, 427 (5th Cir. 1973) ("The serious step of recognizing the legality of a

warrantees wiretap can be justified only when, as in the case before us, the foreign and

sensitive nature of the government surveillance is crystal clear.") (Goldberg, J.,

concurring). Because each of these cases either predates FISA or addresses searches that




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predated FISA, logically speaking, the "primary purpose" restriction arose from

Constitutional, rather than statutory interpretation, concerns. Indeed, as the Fourth

Circuit made clear:

        [T]he executive can proceed without a warrant only if it is attempting
        primarily to obtain foreign intelligence from foreign powers or their
        assistants. We think that the unique role of the executive in foreign
        affairs and the separation of powers will not permit this court to allow the
        executive less on the facts of this case, but we also are convinced that the
        Fourth Amendment will not permit us to grant the executive branch
        more.

  Truong, 629 F.2d at 916.


              2.   FISA's original language required more.

       As initially enacted, in 1978, FISA required that "the purpose of the surveillance

is to obtain foreign intelligence information." However, in order to comply with the

Constitution, courts interpreted this language as requiring that the "primary purpose" of a

FISA investigation to be directed at obtaining foreign intelligence information. United

States v. Johnson, 952 F.2d 565, 572 (1st Cir. 1991); United States v. Pelton, 835

F.2d 1067, 1074-76 (4th Cir. 1987). This test "ensured that law enforcement officials

availed themselves of FISA's more flexible certification procedures only if they primarily

sought to obtain foreign intelligence information."      United States v. Warsame, 547

F.Supp. 2d 982, 995 (D. Minn. 2008).           In other words, it was essential to the

constitutionality of FISA.

              3.   The "significant purpose" standard violates the
                   Fourth Amendment on its face and as applied
                   in this case.




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       This "primary purpose" test – which has its basis in the Constitution - was the

FISA procedure until 2001 when the Patriot Act amended FISA to allow electronic

surveillance and searches where, "a significant purpose" of the surveillance or search

was to obtain foreign intelligence information. 50 U.S.C. §§ 1804(a)(7)(B),

1823(a)(7)(B). As the FISCR has noted, the government advocated for this amendment

to FISA, whereby the article "the" was replaced with the article "a" before the word

"purpose," "in order to avoid the requirement of meeting the 'primary purpose' test." In

re Sealed Case, 310 F.3d at 732.

       Under the newer "significant purpose" test (as interpreted by the FISCR), the

government can obtain a FISA warrant provided that it has some "measurable foreign

intelligence purpose, other than just criminal prosecution," in order to obtain a FISA

warrant. Id. at 735. The test is satisfied, "[s]o long as the government entertains a

realistic option of dealing with the agent other than through criminal prosecution." Id. at

735. The standard, as other courts have recognized, seemingly allows FISA surveillance

where the real purpose is criminal prosecution. See, e.g., Warsame, 547 F.Supp. 2d at

998. This standard violates the Fourth Amendment.

       As the Fourth Circuit stated, the primary purpose test is as far as the Fourth

Amendment will permit the Government to go in being permitted to physically search

and electronically monitor an individual without a warrant. Truong, 629 F.2d at 916.

Logically, then, the "significant purpose" test, which permits the government to obtain

authority to physically search and electronically monitor an individual without a

surveillance and searches where, "a significant purpose" of the surveillance or search

was to obtain foreign intelligence information. 50 U.S.C. §§ 1804(a)(7)(B),



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1823(a)(7)(B). As the FISCR has noted, the government advocated for this amendment

to FISA, whereby the article "the" was replaced with the article "a" before the word

"purpose," "in order to avoid the requirement of meeting the 'primary purpose' test." In

re Sealed Case, 310 F.3d at 732.

       The significant purpose test renders FISA unconstitutional as applied in this case

because the investigation of Mr. Kurbanov was primarily, if not fully, criminal. Mr.

Kurbanov resided exclusively within the United States at all relevant times and there is

no apparent foreign intelligence gathering connection. The FISA application in this case,

therefore, must have relied on the "significant purpose" test, and would not have been

upheld under the former "primary purpose" test. Accordingly, this Court should rule that

the FISA "significant purpose" standard as applied in this case is unconstitutional.

       B.    FISA Violates Numerous Other Fourth Amendment
             Protections.

              1. FISA Authorizes “Warrants” Without the
                   Meaningful Judicial Review Required By The
                   Fourth Amendment.

    In order to conduct a search or surveillance in an ordinary criminal investigation, the

government must obtain the prior authorization of a neutral, disinterested magistrate who

has the authority to determine whether the requirements of Rule 41 or Title III have been

satisfied. See FED. R. CRIM. P. 41 (governing physical searches in criminal

investigations); 18 U.S.C. §§ 2518(1)(b), (2) & (3) (governing electronic surveillance in

criminal investigations); see Johnson v. United States, 333 U.S. 10, 13-14 (1948)

("The point of the Fourth Amendment, which often is not grasped by zealous officers, is

not that it denies law enforcement the support of the usual inferences which reasonable



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men draw from evidence. Its protection consists in requiring that those inferences be

drawn by a neutral and detached magistrate instead of being judged by the officer

engaged in the often competitive enterprise of ferreting out crime.").

       FISA reduces the authority of judges reviewing warrants issued under its

provisions.   The FISC does not have full authority to determine whether, in any

particular investigation, the FBI has satisfied the requirements of FISA. The government

satisfies most of FISA's requirements simply by certifying that the requirements are met.

See 50 U.S.C. § 1804(a)(6); 1823(a)(6) (enumerating necessary certifications). While

certain (but not all) of these certifications must be accompanied by "a statement of the

basis for the certification," 50 U.S.C. § 1804(a)(6)(E), the statute makes clear that the

FISC is to defer to the government's certification unless it is "clearly erroneous on the

basis of the statement made under § 1804(a)(6)(E)." 18 U.S.C. § 1805(a)(4). As the

FISCR has acknowledged, "this standard of review is not, of course, comparable to a

probable cause finding by the judge." In re Sealed Case, 310 F.3d at 739 (quoting H.

R. REP. NO. 95-1283, at 80 (1978)).

       Prior to the Patriot Act Amendment, it may have been reasonable to limit judicial

review of warrant applications. Once, however, the use of warrants was permitted even

when the "primary purpose" was no longer intelligence gathering, the rationale for

limiting the judiciary's role can no longer stand under the Fourth Amendment. The

protections of the people's right against government intrusions for criminal investigatory

purposes required by the Fourth Amendment must be present if the government is to use

evidence in a criminal prosecution. "A search prosecuted in violation of the Constitution

is not made lawful by what it brings to light; and the doctrine has never been recognized



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by this court, nor can it be tolerated under our constitutional system, that evidences of

crime discovered by a federal officer in making a search without lawful warrant may be

used against the victim of the unlawful search where a timely challenge has been

interposed." Byars v. United States, 273 U.S. 28, 29-30 (1927).

       Since surveillance and searches conducted pursuant to FISA here were likely

conducted without meaningful prior judicial review, they were unreasonable under the

Fourth Amendment.

       2. FISA Orders Are Granted Without the Protection of
          the Fourth Amendment.

       FISC surveillance orders are not warrants within the meaning of the Fourth

Amendment. See In re Sealed Case, 310 F.3d at 741 (acknowledging that FISA orders

"may not be . . .'warrant[s]' contemplated by the Fourth Amendment"). The Supreme

Court has held that a warrant must be issued by a neutral, detached magistrate; must be

based on a demonstration of probable cause; must relate to a particular offense; and must

particularly describe the things to be seized as well as the place to be searched. Dalia v.

United States, 441 U.S. 238, 255 (1979). FISC orders do not satisfy these requirements.

       FISA empowers the government to conduct the most intrusive kinds of

surveillance with lesser judicial review then required by the Constitution, without

showing criminal probable cause, and without meeting particularity requirements.

Because FISC orders are not warrants, searches conducted under FISA are

presumptively unreasonable. See, e.g., Payton v New York, 445 U.S. 573, 586 (1980);

Chimel v. California, 395 U.S. 752, 762-63 (1969). The surveillance at issue in this

case cannot overcome that presumption.



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       3. FISA    Warrants            Do     Not    Satisfy      The     Particularity
           Requirement.

       The electronic surveillance and searches in this case were substantial. Mr.

Kurbanov’s home was searched on at least two occasions, his email account was

searched, his telephone was searched, and his computer files were copied and searched.

The duration and scope of these intrusions was not limited in any meaningful way, and as

such the conduct violated the Fourth Amendment's particularity requirement.

       The Fourth Amendment ordinarily prohibits the government from conducting

intrusive surveillance unless it first obtains a warrant describing with particularity the

things to be seized as well as the place to be searched. Berger v. New York, 388 U.S.

41, 58 (1967) (noting that Fourth Amendment particularity requirement was intended to

prevent the government's reliance on "general warrants" that allow "the seizure of one

thing under a warrant describing another"). In Berger, the Supreme Court stated that the

importance of the particularity requirement "is especially great in the case of

eavesdropping." Id. at 56. The Court explained: "[B]y its very nature eavesdropping

involves an intrusion on privacy that is broad in scope." Id. "[T]he indiscriminate use of

such devices in law enforcement raises grave constitutional questions under the Fourth

and Fifth Amendments, and imposes a heavier responsibility on this Court in its

supervision of the fairness of procedures." Id.

       With respect to eavesdropping devices and wiretaps, the particularity requirement

demands not simply that the government describe in detail the communications it intends

to intercept, but also that the duration of the intercept be strictly limited. See Berger,

388 U.S. at 58-60. Title III, which Congress enacted shortly after Berger was decided,




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limits the term of surveillance orders to 30 days.     18 U.S.C. § 2518(5). FISA, by

contrast, authorizes surveillance terms of up to 90 or 120 days or even one year. 50

U.S.C. § 1805(d)(1); 1824(d)(1). To the extent FISA is read to permit issuance of a

warrant - or an extension - without the type of particularity required under Title III, it

would violate the Constitution. But see Mubayyid, 521 F. Supp. 2d at 138.

       4.     Surveillance was Conducted Without Compliance
              with the Fourth Amendment's Probable Cause
              Requirement.

       The Fourth Amendment ordinarily prohibits the government from conducting

intrusive surveillance without first demonstrating criminal probable cause - probable

cause to believe that "the evidence sought will aid in a particular apprehension or

conviction for a particular offense." See Dalia, 441 U.S. at 255. FISA authorizes the

government to conduct intrusive surveillance if it can show what is known as "foreign

intelligence probable cause" – probable cause to believe that the surveillance target is a

foreign power or agent of a foreign power. See 50 U.S.C. § 1805(a)(3)(A). The statute

does not require the government to advance any reason whatsoever (let alone probable

cause) to believe that its surveillance will yield information about a particular criminal

offense. Indeed, foreign-intelligence probable cause bears only a passing resemblance to

criminal probable cause.

       In response to a Freedom of Information Act request filed by the ACLU and

others in August 2002, the FBI released, among other things, a document from the FBI's

National Security Law Unit entitled, "What do I have to do to get a FISA?" The

document states, in relevant part:




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            Probable cause in the FISA context is similar to, but not the same as,
            probable cause in criminal cases. Where a U.S. person is believed to be
            an agent of a foreign power, there must be probable cause to believe that
            he is engaged in certain activities, for or on behalf of a foreign power,
            which activities involve or may involve a violation of U.S. criminal law.
            The phrase "involve or may involve" indicates that the showing of
            [nexus to] criminality does not apply to FISA applications in the same
            way it does to ordinary criminal cases. As a result, there is no showing
            or finding that a crime has been or is being committed, as in the case of
            a search or seizure for law enforcement purposes. The activity identified
            by the government in the FISA context may not yet involve criminality,
            but if a reasonable person would believe that such activity is likely to
            lead to illegal activities, that would suffice. In addition, and with respect
            to the nexus to criminality required by the definitions of "agent of a
            foreign power," the government need not show probable cause as to
            each and every element of the crime involved or about to be involved.

       "What do I have to do to get a FISA?," at 2 (Document released by FBI in

response to August 21Freedom of Information Act request submitted by ACLU et al.).

        Foreign-intelligence probable cause is not "probable cause" within the ordinary

meaning of the Fourth Amendment. The surveillance at issue in this case was not

premised on criminal probable cause and accordingly was unreasonable within the

meaning of the Fourth Amendment.

       C.     The Ex Parte, In Camera FISA Process Violates Due
              Process, A Defendant's Rights To Be Present At All
              Critical Stages Of The Criminal Process, And His Right
              To The Effective Assistance Of Counsel.

       FISA authorizes the unprecedented exclusion of the accused from critical stages

of the prosecution, including review of the motion to suppress evidence. The post-

indictment procedure, in a criminal prosecution, is conducted ex parte and in camera and

without the defendant ever having the right to even see the warrants or affidavits he is

challenging. To permit Mr. Kurbanov's motion to proceed in this manner violates his

Fifth and Sixth Amendment rights. Fundamental to due process is the right to notice and



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an opportunity to be heard. See LaChance v. Erickson, 522 U.S. 262 (1998). The

interest at stake is the most fundamental liberty - freedom from incarceration. Turner v.

Rogers, 131 S.Ct. 2507, 2518 (2011) ("Freedom 'from bodily restraint' lies 'at the core

of the liberty protected by the Due Process Clause.'"). Equally fundamental is a

defendant's right to be present at, and participate in, all critical stages of a criminal

prosecution and to be meaningfully assisted by counsel. See Montejo v. Louisiana, 129

S. Ct. 2079, 2085 (2009); Tennessee v. Lane, 541 U.S. 509, 523 (2004).

       To be sure, the Constitution recognizes some limits on a defendant's participation

in the criminal process. The government may secure an indictment without his

participation. United States v. Salsedo, 607 F.2d 318, 319 (9th Cir. 1979). In limited

circumstances, the court may review potential evidence ex parte to determine whether it

is material to the defense. United States v. Mejia, 448 F.3d 436, 543-54(D.C. Cir.

2006). If so, it must be disclosed or the government loses the opportunity to use it.

Skinner v. Switzer, 131 S. Ct. 1289, 1300 (2011) (citing Brady, 373 U.S. at 87).

       FISA’s limitations on a defendant's participation are different in kind, allowing

the court to determine complex constitutional questions in a non-adversarial setting and

in secret. The Constitution forbids such a process, as analogous holdings show. See,

United States v. Abuhamra, 389 F.3d 309 (2d Cir. 2004). There, in the context of a

bail application, the government submitted, and the District Court considered, evidence

ex parte and in camera. The Court rejected one-sided secret proceedings: “Particularly

where liberty is at stake, due process demands that the individual and the government

each be afforded the opportunity not only to advance their respective positions but to

correct or contradict arguments or evidence offered by the other.” Id. at 322.



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       The court in Abuhamra noted such a procedure violated the defendant's due

process rights and also the right of public access to criminal trials. Id. at 316 n.3, 323;

see also Alderman, 394 U.S. at 182-84. FISA's ex parte, in camera process, whatever

its legality in the context of foreign surveillance, cannot constitutionally displace the

defendant's rights under the Fifth and Sixth Amendments. See United States v.

Coplon, 185 F.2d 629, 638 (2d Cir. 1950) (finding the refusal to allow the defense to see

records the judge reviewed in camera to determine if the "taps" led to evidence

introduced at trial violated the defendants' constitutional right). "Few weapons in the

arsenal of freedom are more useful than the power to compel a government to disclose the

evidence on which it seeks to forfeit the liberty of its citizens." Coplon, 185 F.2d at 638.

       One of the first cases to consider these arguments under FISA was Belfield.

There, the court rejected similar Fifth and Sixth Amendment claims. 692 F.2d at 148.

The court's reasoning was, however, anchored in the fact that "FISA is concerned with

foreign intelligence surveillance." Id. Courts that rejected similar claims after the Patriot

Act amendments have failed to recognize the change in the statutory criteria. See, e.g.,

United States v. Kashmiri, No.09 CR 830-4, 2010 WL 4705159 (N.D. Ill. 2010).

Once Congress expanded the purposes of and standards for surveillance, it shifted the

constitutional calculus. As stated in Boumediene v. Bush, 553 U.S. 723, 797 (2008),

"security subsists, too, in fidelity to freedom's first principles." Those principles support

the conclusion that FISA no longer passes constitutional muster if it shuts criminal

defendants out of the process.

       D.    The FISA "Suppression" Process Unconstitutionally
             Interferes With The Article III Judicial Power.




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        Chief Justice John Marshall in Cohens v. Virginia, noted that the judicial power

of the federal courts "extends to all cases arising under the constitution or a law of the

United States, whoever may be the parties." 19 U.S. (6 Wheat.) 264, 392 (1821). FISA

may trigger this judicial power, but it cannot constitutionally expand or restrict the scope

of Article III. It does both.

        Considering the constitutionality of FISA's limit on judicial power, "[t]he

controlling question is whether the function to be exercised by the court is a judicial

function." Fed. Radio Comm'n v. Nelson Bros., Co., 289 U.S. 266, 277 (1933). An

Article III court determining a Fourth Amendment suppression motion on a federal

indictment surely performs a "judicial function."

        The first defect in FISA under Article III is that it permits the courts to act when

there is no case or controversy.       Camreta v. Green, 131 S. Ct. 2020, 2028 (2011)

("Article III of the Constitution grants this Court authority to adjudicate legal disputes

only in the context of "Cases" and "Controversies."). The role of the courts is to resolve

disputes between or among parties. Principal Life Ins. Co. v. Robinson, 394 F.3d 665,

671 (9th Cir. 2005). They may not issue advisory opinions. Sierra Club v. Morton, 405

U.S. 727, 732 n.3 (1972). Contrary to these principles, FISA permits the courts to act in

a one-sided manner, treating the question of suppression as if only one party had an

interest sufficient to warrant judicial action.

        The second defect in FISA is that it limits the Judiciary's Article III powers by

requiring the courts to defer to executive assertions in a criminal case. 50 U.S.C. §§

1805(a)(4),1824(a)(4). The fact that FISA gives the Attorney General undue control of

the warrant and suppression motion processes and limits FISA review infringes on the


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judicial responsibility to say what the law is, as it "is a responsibility of this Court as

ultimate interpreter of the Constitution." Baker v. Carr, 396 U.S. 186, at 211 (1962).

See Kendall v. United States, 37 U.S. 524, at 526 (1838) (discerning judicial authority

and separation of powers).

       The third defect is that FISA, as implemented ex parte and in camera, violates the

separation of powers inherent in the first three Articles of the Constitution. While the

Executive Branch must assure that the laws are faithfully executed, the Judiciary

ultimately must decide whether the executive action complies with legislative standards.

By conferring deference to the Executive while excluding the citizen, the separation of

powers is breached, with the citizen ineffectively protected from executive overreaching.

       The judicial power to conduct a Fourth Amendment suppression hearing flows

directly from Article III of the Constitution. It does not flow from, nor can it be limited

by, a purported congressional delegation to the Attorney General, who in turn tells this

Court how to exercise its judicial powers and discretion in a bona fide constitutional

"case and controversy."

V.     CONCLUSION

      The FISA investigation in this case did not meet statutory standards. The purpose

of this FISA investigation was to conduct a criminal investigation and there was no

connection, much less the "significant" connection required, to foreign intelligence

gathering. Furthermore, there was no probable cause to find that Mr. Kurbanov was an

"agent of a foreign power" as required by FISA. Disclosure of the FISA evidence is

required in this case because defense input is necessary to properly address the complex

matters at issue in the motion to suppress, and because disclosure is required under due


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process principles. Finally, FISA is unconstitutional both on its face and as applied in

this case because it violates the Fourth, Fifth, and Sixth Amendments, as well as Article

III to the United States Constitution.

       Dated this 16th day of October, 2014.


                                               //s//
                                               Charles F. Peterson
                                               Attorney for Defendant


                                               //s//
                                               Courtney M. Peterson
                                               Attorney for Defendant




                            CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on the 16th day of October, 2014, I caused a true
and correct copy of the foregoing document was served on all parties listed in
CM/ECF.

Wendy Olson
Aaron N. Lucoff
Heather Patricco
Lawrence Schneider

                                               //s//
                                               Charles F. Peterson




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